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The Honorable James L. Robart

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, NO. CR21-150-JLR a
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Plaintiff, AMENDED ORDER A
CONTINUING TRIAL DATE AS
V. TO DEFENDANT NAUGHTON

ROY NAUGHTON,
COLTER O’DELL, and
GLEN BALDWIN,

Defendants.

 

 

THIS matter comes before the Court following a hearing in part related to Defendant
Roy Naughton’s refusal to file a waiver of speedy trial subsequent to a joint motion to
continue the trial and pretrial motions deadlines, granted by this Court on November 10,
2021. Dkt. 44. Trial in this matter is currently set for July 12, 2022; pretrial motions are due
May 23, 2022. (Dkt. 44).

The parties sought a continuance of the initial November 29, 2021, trial date citing
counsel’s need to review and investigate discovery and discuss factual and legal issues of
this case with the Defendants. Dkt. 43. In addition to this pending criminal matter, the
defendants are held pending trial in the District of Alaska under 3:10CR-00026 TMB-DMS

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(Dkt. 558), on charges of Racketeering Conspiracy, Violent Crimes in Aid of Racketeering
Conspiracy, Kidnapping Conspiracy, Kidnapping Resulting in Death, Murder, Assault. Trial
in the District of Alaska is scheduled for February 14, 2022. Dkt. 689.

Following the Court’s November 10, 2021, Order Continuing Trial, defense counsel
for Defendant Naughton filed a Motion to Withdraw. Dkt. 45. The Court granted defense
counsel’s motion on November 30, 2021, and ordered the appointment of new counsel. Dkt.
49. Having thoroughly considered the circumstances surrounding Defendant Naughton’s
refusal to waive speedy trial, the withdrawal of defense counsel and the necessity for new
counsel to be appointed, the Court orders the trial date and pretrial motions deadlines granted
on November 10, 2021, to remain in effect. Based on the forgoing, the Court FINDS as

follows:

1, Judicial economy and efficiency considerations involved in a three
codefendant prosecution, coupled with an out of district criminal trial scheduled for February
2022, necessitate a trial date of July 12, 2022, a date that constitutes a reasonable period of
delay as Defendant Naughton is joined for trial with two codefendants as to whom the time
for trial has not run and no motion for severance has been granted. See 18 U.S.C. §

3161(h)(6).

2. The ends of justice served by granting the requested continuance outweigh the
best interests of the Defendant and the public to a speedy trial. See 18 U.S.C. §
3161(h)(7)(A).

3. Taking into account the exercise of due diligence, the failure to grant the
continuance - particularly in light of the need for new counsel to be appointed - would deny

new counsel the reasonable time necessary for effective preparation, see 18 U.S.C. §

3161(h)(7)(B)(iv), and would therefore result in a miscarriage of justice, see 18 U.S.C. §
3161(h)(7)(B)(i).

4, The ends of justice will be served by ordering a continuance in this case, as a

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continuance is necessary to ensure adequate time for newly appointed defense counsel to

review discovery and prepare for trial.

Additionally, the Court holds that the duration of this continuance is excluded from
the Defendant’s speedy trial calculation because it is “a reasonable period of delay” within
the meaning of 18 U.S.C. § 3161(h)(6). See United States v. Messer, 197 F.3d 330, 337 (9th
Cir. 1999).

IT IS THEREFORE ORDERED that the trial date remains July 12, 2022, and that the

pretrial motions deadline remains May 23, 2022.

IT IS FURTHER ORDERED that the resulting period of delay from the filing of this
Oder to the July 12, 2022, trial dates is hereby excluded for speedy trial purposes under 18
U.S.C. § 3161(h)(7)(A) and (h)(7)(B)G@)(iv).

Dated this_(°' day of December, 2021.

JAMES feos

 

United States District Judge

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